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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

 Case No.      CV 20-7935-DMG (MRWx)                                         Date     November 4, 2020

 Title Orlando Garcia v. 7004 Pacific Boulevard Partnership, LTD., et al.


 Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                Kane Tien                                                     Not Reported
               Deputy Clerk                                                   Court Reporter

     Attorneys Present for Plaintiff(s)                            Attorneys Present for Defendant(s)
               Not Present                                                    Not Present

 Proceedings: IN CHAMBERS - ORDER TO SHOW CAUSE RE: DISMISSAL FOR
              LACK OF PROSECUTION

         Absent a showing of good cause, an action must be dismissed without prejudice if the summons
 and complaint are not served on a defendant within 90 days after the complaint is filed. See Fed. R. Civ.
 P. 4(m). Generally, defendant must answer the complaint within 21 days after service (60 days if the
 defendant is the United States).

          In the present case, it appears that one or more of these time periods has not been met.
 Accordingly, the Court, on its own motion, orders plaintiff(s) to show cause in writing on or before
 November 12, 2020 why this action should not be dismissed as to defendant Fine Discount No. 3, Inc. for
 lack of prosecution. As an alternative to a written response by plaintiff(s), the Court will consider the
 filing of one of the following, as an appropriate response to this Order To Show Cause, on or before the
 above date, as evidence that the matter is being prosecuted diligently:

 ___X___ An answer by the following defendant(s): Fine Discount No. 3, Inc.;
 ___X___ Plaintiff's application for entry of default pursuant to Rule 55a of the Federal Rules of Civil
         Procedure;

          It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action
 diligently, including filing proofs of service and stipulations extending time to respond. If necessary,
 plaintiff(s) must also pursue Rule 55 remedies promptly upon the default of any defendant. All
 stipulations affecting the progress of the case must be approved by this Court. (Local Rules 7-1 and 7-2.)

         No oral argument of this matter will be heard unless ordered by the Court. The Order will stand
 submitted upon the filing of a responsive pleading or motion on or before the date upon which a response
 by plaintiff(s) is due. This action will be dismissed as to defendant Fine Discount No. 3, Inc. if the
 above-mentioned document(s) are not filed by the date indicated above.




 CV-90                                 CIVIL MINUTES - GENERAL                      Initials of Deputy Clerk KT
